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                       Hearing Date and Time: February 24, 2010 at 10:00 a.m. Prevailng Eastern Time
                                                              Objection Deadline: February 17,2010

  PACHULSKI STANG ZIEHL & JONES LLP
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  Richard M. Pachulski
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  Joshua M. Fried
  Maria A. Bove

  Attorneys for Debtors and Debtors in Possession

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK


    In re:                                                         Chapter 1 1

    MESA AIR GROUP, INC., et aI.,                                  Case No. 10-10018 (MG)
                                               1
                                    Debtors.                       (Jointly Administered)


         NOTICE OF DEBTORS' MOTION FOR ENTRY OF ORDER PURSUANT TO
      11 U.S.C. §§ 105 AND 546(c) ESTABLISHING AND IMPLEMENTING EXCLUSIVE
      AND GLOBAL PROCEDURES FOR TREATMENT OF RECLAMATION CLAIMS
                     PLEASE TAKE NOTICE that a hearing on the Debtors' Motion for Entry of an

  Order Pursuant to 11 Us. C. § § 105 and 546(c) Establishing and Implementing Exclusive and

  Global Procedures for Treatment of Reclamation Claims (the "Motion") filed herewith by Mesa

  Air Group Inc., and certain of its subsidiaries and affiliates, as debtors and debtors in possession

  (collectively, the "Debtors"), wil be held before the Honorable Martin Glenn, at the United

  States Bankptcy Court, Alexander Hamilton Customs House, One Bowling Green, New York,

 New York, 10004, Courroom 501, at 10:00 a.m. on February 24, 2010.


  1 The Debtors are: Mesa Air Group, Inc. (2351); Mesa Air New York, Inc. (3457); Mesa In-Flight, Inc. (9110);
  Freedom Airlines, Inc. (9364); Mesa Airlines, Inc. (4800); MPD, Inc. (7849); Ritz Hotel Management Corp. (7688);
  Regional Aircraft Services, Inc. (1911); Air Midwest, Inc. (6610); Mesa Air Group Airline Inventory Management,
  LLC (2015); Nilchi, Inc. (5531); and Patar, Inc. (1653).



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                          PLEASE TAKE FURTHER NOTICE that any response or objection to the

  relief sought in the Motion must be fied with the Bankptcy Court and served upon: (i) the

  chambers of         the Honorable Martin Glenn, One Bowling Green, New York, New York 10004,

  Courtroom 501; (ii) Pachulski Stang Ziehl & Jones LLP, 150 California Street, 15th Floor, San

  Francisco, California 941 1 1 (Attn: Debra 1. Grassgreen and Joshua M. Fried), and Pachulski

  Stang Ziehl & Jones LLP, 780 Third Avenue, 36th Floor, New York, New York 10017 (Attn:

  Maria A. Bove), attorneys for the Debtors; (iii) Mesa Air Group, Inc., Law Deparment 410 N.

  44th St. Suite 700, Phoenix, Arizona 85008, (Attn: Brian S. Gilman, Esq.); (iv) the Office of                                 the

  United States Trustee for the Southern District of                              New York, 33 Whitehall Street, 21 st Floor,

  New York, NY 10004 (Attn: Andrea B. Schwartz); (v) Morrison & Foerster LLP, 1290 Avenue

  of   the Americas, New York, New York 10104 (Attn: Brett H. Miler, Lorenzo Marinuzzi, and

  Todd M. Goren), attorneys for the Official Committee of                                    Unsecured Creditors appointed in these

  chapter 11 cases; and (vi) any person or entity with a particularized interest in the subject matter

  of   the Motion, on or before February 17,2010.




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                     PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND

  IN ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

  REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE.

  Dated: February 8, 2010                        PACHULSKI STANG ZIEHL & JONES LLP
         New York, New York

                                                 Isl Maria A. Bove
                                                 Richard M. Pachulski
                                                 Laura Davis Jones
                                                 Debra 1. Grassgreen
                                                 Maria A. Bove
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                             Hearing Date and Time: February 24, 2010 at 10:00 a.m. Prevailng Eastern Time
                                                                    Objection Deadline: February 17,2010

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  Richard M. Pachulski
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  Debra 1. Grassgreen
  Joshua M. Fried
  Maria A. Bove

  Attorneys for Debtors and Debtors in Possession

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK


     In re:                                                                   Chapter 1 1

     MESA AIR GROUP, INC., et aI.,                                            Case No. 10-10018 (MG)
                                                             1
                                                  Debtors.
                                                                              (Jointly Administered)


                MOTION OF DEBTORS FOR ENTRY OF ORDER PURSUANT TO
        11 U.S.C. §§ 105 AND 546(c) ESTABLISHING AND IMPLEMENTING EXCLUSIVE
        AND GLOBAL PROCEDURES FOR TREATMENT OF RECLAMATION CLAIMS
  TO THE HONORABLE MARTIN GLENN:

                          Mesa Air Group, Inc. and certain of its subsidiaries, as debtors and debtors in

  possession in the above-captioned chapter 11 cases (collectively, the "Debtors"), respectfully

  represent:


                                                                 Background

                          1. On Januar 5, 2010 (the "Petition Date"), the Debtors each commenced

  with this Court a voluntar case under chapter 11 of                   title 11 ofthe United States Code (the

  1 The Debtors are: Mesa Air Group, Inc. (2351); Mesa Air New York, Inc. (3457); Mesa In-Flight, Inc. (9110);
  Freedom Airlines, Inc. (9364); Mesa Airlines, Inc. (4800); MPD, Inc. (7849); Ritz Hotel Management Corp. (7688);
  Regional Aircraft Services, Inc. (1911); Air Midwest, Inc. (6610); Mesa Air Group Airline Inventory Management,
  LLC (2015); Nilchi, Inc. (5531); and Patar, Inc. (1653).



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  "Bankruptcy Code"). The Debtors are authorized to continue to operate their businesses and

  manage their properties as debtors in possession pursuant to sections 1 107(a) and 1108 of                            the

  Banuptcy Code.

                         2. The Debtors' chapter 11 cases are jointly administered pursuant to Rule


  1015(b) of       the Federal Rules of              Bankptcy Procedure (the "Banptcy Rules").

                          3. On January 14,2010, the Office ofthe u.s. Trustee appointed an Official


  Committee of           Unsecured Creditors in these cases (the "Committee"). The members of                         the

  Committee are: Bombardier, Inc.; Embraer-Empresa Brasilieire de Aeronautica S.A.; IHI

  Corporation; U.S. Bank National Association; AT&T Capital Services; Wilmington Trust

  Company; the Air Line Pilots Association; and the Association of Flight Attendants - CW A

  (ex-officio member).

                          4. A detailed description of                        the Debtors' businesses, capital structue, and the


  circumstances that precipitated the commencement of these chapter 1 1 cases is set forth in the

  Declaration of Michael J Lotz in Support of First Day Motions Pursuant to Local Bankruptcy

  Rule 1007-2 fied on the Petition Date.


                                                                     Jurisdiction

                          5. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.


  §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

  before this Cour pursuant to 28 U.S.C. §§ 1408 and 1409.

                          6. The statutory bases for the relief requested herein are sections 105 and


  546( c) of the Banptcy Code.


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                                                                  Relief Requested

                          7. By this Motion, the Debtors seek to establish and implement exclusive


  procedures (the "Reclamation Procedures") for the treatment of all unpaid claims for reclamation

  of goods pursuant to section 546(c) of                        the Bankruptcy Code (the "Reclamation Claims") that

  may be asserted against the Debtors.

                          8. Prior to the Petition Date and in the ordinary course of                        their businesses,

  the Debtors purchased on credit a variety of materials, parts, supplies, and other goods used in

  their operations (collectively, the "Goods"). As of                              the Petition Date, the Debtors were in

  possession of certain Goods that had been delivered to them, but for which they had not yet been

  invoiced or made payment to the suppliers. As a result of the commencement of these chapter 1 1

  cases, the Debtors may receive Reclamation Claims from various vendors or other parties

  (collectively, the "Sellers") with respect to the Goods.

                          9. Avoiding costly and distracting litigation relating to Reclamation Claims

  is critical at this stage of             the Debtors' chapter 11 cases. If              the Debtors are unable to establish and

  implement uniform procedures to resolve Reclamation Claims, they could be faced with the

 prospect of simultaneously defending numerous reclamation proceedings at a time when their

 efforts should be focused on preserving enterprise value.

                          10. To avoid piecemeal                       litigation that would interfere with the Debtors' efforts

 to preserve enterprise value, the Debtors seek entry of an order, pursuant to sections 105(a) and

 546( c) of the Bankuptcy Code, (i) establishing Reclamation Procedures for the reconciliation




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  and allowance of all Reclamation Claims,2and (ii) prohibiting the Sellers from interfering with

  the delivery of the Goods. The Debtors submit that the Reclamation Procedures wil effectively

  and effciently streamline the process of                        resolving Reclamation Claims to the benefit of                    both the


  Debtors and Sellers.


                                                  Proposed Reclamation Procedures

                          11. The Debtors propose the following procedures (the "Reclamation


  Procedures") for processing and reconciling Reclamation Claims:

                                      a. Any Seller asserting a Reclamation Claim must
                                                 satisfy all procedural and timing requirements
                                                 entitling it to have a right to reclamation under
                                                 section 546( c) of the Bankptcy Code, including the
                                                 submission of a written demand asserting such
                                                 Reclamation Claim (a "Reclamation Demand") in
                                                 accordance with the deadlines set forth in section
                                                 546( c) of the Bankptcy Code;

                                     b. Each Seller that has timely submitted a Reclamation
                                                 Demand shall deliver the following supporting
                                                 information to the Debtors within twenty (20) days
                                                 of entry of the order granting this Motion, to the
                                                 extent not already included in its Reclamation
                                                 Demand: (i) a description of                      the Goods subject to
                                                 the Reclamation Demand; (ii) the name of the Debtor
                                                 to whom such Goods were delivered; (iii) copies of
                                                 any purchase orders and invoices relating to such
                                                 Goods; and (iv) any evidence regarding the date(s)
                                                 such Goods were shipped to and received by the
                                                 Debtors, so that it is received by (A) the Debtors, c/o
                                                 Mesa Air Group, Inc., Law Department 410 N. 44th
                                                 St. Suite 700, Phoenix, Arizona 85008, Attention:
                                                 Brian S. Gilman, Esq.; and (B) Pachulski Stang

  2 Certain Sellers may receive payment on account of certain prepetition claims pursuant to the Amended Interim
  Order Granting Motion to Authorize Debtors to (1) Pay Pre         petition Claims of Critical Vendors and Certain
 Administrative Claim         holders and (11) Authorize Financial Institutions to Honor and Process Related Checks and
  Transfers (the "Critical Vendor Order"). To the extent a Seller receives payment on account of                          its prepetition claim
  pursuant to the Critical Vendor Order, the Reclamation Procedures shall not apply to such Seller.


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                                        Ziehl & Jones LLP, 150 California Street, 15th Floor,
                                        San Francisco, California 941 1 1, Attention: Debra
                                        Grassgreen and Joshua M. Fried, and Pachulski
                                        Stang Ziehl & Jones LLP, 780 Third Avenue, 36th
                                        Floor, New York, New York 10017, Attention:
                                        Maria A. Bove, attorneys for the Debtors;

                                 c.     The Debtors wil serve each Seller that has submitted
                                        a Reclamation Demand, at the address indicated in its
                                        Reclamation Demand, a copy of the order granting
                                        this Motion within five (5) days of entry of such
                                        order;

                                 d.     No later than ninety (90) days after entry of   the order
                                        granting the relief requested herein (the
                                        "Reclamation Notice Deadline"), the Debtors wil
                                        fie with the Cour a notice (the "Reclamation
                                        Notice"), listing (i) the Reclamation Claims, (ii) the
                                        amount (if any) of each such Reclamation Claim that
                                        the Debtors determine to be valid, and (iii) a brief
                                        summar of     the basis for any objection of the
                                        Debtors to any Reclamation Claim(s). The Debtors
                                        wil serve the Reclamation Notice on the following
                                        paries (the "Notice Paries"): (A) the Office of the
                                        United States Trustee for the Southern District of
                                        New York (the "U.S. Trustee"); (B) attorneys for the
                                        Committee; and (C) each Seller listed in the
                                        Reclamation Notice, at the address indicated in the
                                        respective Seller's Reclamation Demand;

                                 e.     If  the Debtors fail to file the Reclamation Notice by
                                        the Reclamation Notice Deadline, any holder of a
                                        Reclamation Claim that submitted a Reclamation
                                        Demand in accordance with paragraph 1 1      (a) of this
                                        Motion may bring a motion on its own behalf to seek
                                        relief with respect to its Reclamation Claim;

                                 f.     Any pary that wishes to object to the Reclamation
                                        Notice must file and serve an objection (a
                                        "Reclamation Notice Obïection") on the Notice
                                        Paries and attorneys for the Debtors at Pachulski
                                        Stang Ziehl & Jones LLP, 150 California Street, 15th
                                        Floor, San Francisco, California 94111, Attention:
                                        Debra Grassgreen and Joshua M. Fried, and
                                        Pachulski Stang Ziehl & Jones LLP, 780 Third
                                        Avenue, 36th Floor, New York, New York 10017,
                                        Attention: Maria A. Bove, so as to be received no


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                                       later than 4:00 pm (Eastern Time) on the twentieth
                                       (20th) day after the date on which the Reclamation
                                       Notice is fied (the "Obiection Deadline"). Any
                                       Reclamation Notice Objection must include (i) a
                                       copy of the Reclamation Demand, with evidence of
                                       the date mailed to the Debtors; and (ii) a statement
                                       describing with specificity the objections to the
                                       Reclamation Notice and any legal basis for such
                                       objections;

                                g.     Any Reclamation Claim listed in the Reclamation
                                       Notice for which no Reclamation Notice Objection
                                       was fied and served by the Objection Deadline shall
                                       be deemed allowed by the Court in the amount
                                       identified by the Debtors in the Reclamation Notice,
                                       provided that all issues relating to the treatment of
                                       any such allowed Reclamation Claim shall be
                                       reserved;

                                h.     Notwithstanding and without limiting the foregoing,
                                       the Debtors would be authorized, but not required, to
                                       negotiate, in their sole discretion, with any Seller and
                                       to seek an agreement resolving the Seller's
                                       Reclamation Claim or Reclamation Notice
                                       Objection. If  the Debtors and a Seller agree on the
                                       validity, amount, or treatment of            the Seller's
                                       Reclamation Claim, the Debtors wil prepare and fie
                                       with the Court a notice of settlement (a "Settlement
                                       Notice") and serve such Settlement Notice on the
                                       Notice Parties. Each Notice Party wil have ten (10)
                                       days from the date of service of such Settlement
                                       Notice to fie with the Court and serve on the other
                                       Notice Parties and attorneys for the Debtors an
                                       objection thereto (a "Settlement Obiection");

                                1.     If no Settlement Objection with respect to a
                                       Reclamation Claim that is the subj ect of a Settlement
                                       Notice is timely filed and served, such Reclamation
                                       Claim wil be treated in accordance with the
                                       Settlement Notice without further order of             the Court;

                                J.     If a Settlement Objection with respect to a
                                       Reclamation Claim that is the subject of a Settlement
                                       Notice is timely filed and served, the paries may
                                       negotiate a consensual resolution of such objection to
                                       be incorporated in a stipulation fied with the Court
                                       (a "Settlement Stipulation"). Upon the fiing of a


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                                        Settlement Stipulation, the applicable Reclamation
                                        Claim shall be allowed and treated in accordance
                                        with the terms of the Settlement Stipulation without
                                        fuher order of the Cour;


                                 k. If no consensual resolution of a Settlement Objection
                                        with respect to a Reclamation Claim that is the
                                        subject of a Settlement Notice is reached within
                                        thirty (30) days after the date the Settlement
                                        Objection was fied and served, the Debtors may fie
                                        a motion with the Cour requesting a hearing to fix
                                        the allowed amount of the Reclamation Claim, unless
                                        the Debtors and the pary fiing the Settlement
                                        Objection agree to extend such thirt (30) day
                                        period;

                                 i. If any Reclamation Claims are stil subject to a
                                        pending Reclamation Notice Objection seventy-five
                                        (75) days following the Objection Deadline (or a
                                        later date as may be agreed to by the Seller, the
                                        Debtors, and the Committee) (the "Reclamation
                                        Settlement Deadline") and no Settlement Notice has
                                        been fied therewith, the Debtors may fie a motion
                                        with the Court to fix the allowed amounts of such
                                        Reclamation Claims (a "Reclamation Adiudication
                                        Motion") and schedule a hearing to consider such
                                        motion; and

                                 m. If the Debtors fail to file a Reclamation Adjudication
                                        Motion by the Reclamation Settlement Deadline, any
                                        Seller with a Reclamation Claim that is subject to a
                                        pending Reclamation Notice Objection and for which
                                        no Settlement Notice has been filed may bring a
                                        motion on its own behalf to seek adjudication of its
                                        Reclamation Claim.

                     12. The Debtors propose that, except to the extent a Seller has received

  payment on account of its prepetition claim pursuant to the Critical Vendor Order, the

  Reclamation Procedures be the sole and exclusive method for resolving Reclamation Claims. As

  a result, the Debtors request that all Sellers be prohibited from seeking any other means for the

  resolution or treatment of their Reclamation Claims, including, without limitation, the following:



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 (a) commencing adversar proceedings or contested matters against the Debtors in connection

 with any Reclamation Claim, (b) seeking to obtain possession of any Goods except as permitted

 by the Reclamation Procedures, or ( c) interfering with the delivery of any Goods to the Debtors.

  The Reclamation Procedures wil effectively and effciently streamline the process of resolving

 the Reclamation Claims for the Debtors and the Sellers alike, without impacting the parties'

  substantive rights to pursue or contest the Reclamation Claims.


                                                         Basis for Relief Requested

                          13. Upon the commencement of a chapter 11 case, reclamation rights are

  governed by section 546( c) of the Banptcy Code, which provides, in relevant part:

                         (SJubject to the prior rights of a holder of a security interest in such
                         goods or the proceeds thereof, the rights and powers of the trustee. .
                         . are subject to the right of a seller of goods that has sold goods to
                         the debtor, in the ordinary course of such seller's business, to
                         reclaim such goods if the debtor has received such goods while
                         insolvent, within 45 days before the date of              the commencement ofa
                         case under this title, but such a seller may not reclaim such goods
                         unless such seller demands in writing reclamation of such goods -
                         (A) not later than 45 days after the date of receipt of such goods by
                         the debtor; or (B) not later than 20 days after the date of
                         commencement of               the case, if   the 45-day period expires after the
                         commencement of the case.

  11 U.S.C. § 546(c)(1).3


                          14. In addition, pursuant to Bankptcy Rule 9019(a), after notice and a


  hearing, the Court may approve a compromise or settlement between the Debtors and any Seller

  who files a Reclamation Demand and/or Reclamation Notice Objection. Fed. R. Bank. P.

  3 Any seller that fails to provide notice in the manner described in section 546( c) "stil may assert" an
  administrative expense claim pursuant to section 503(b)(9) of                   the Bankptcy Code for goods delivered to the
  Debtors within 20 days before the Petition Date in the ordinary course of                 the Debtors' businesses. See 11 D.S.C.
  §§ 503(b)(9); 546(c)(2).


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  9019(a). The ability to negotiate with the Sellers wil expedite the settlement of                            Reclamation

  Claims and assist the administration of these chapter 1 1 cases.

                          15. Furthermore, section 105(a) of                          the Banuptcy Code provides that

  bankptcy courts "may issue any order, process, or judgment that is necessary or appropriate to

  cary out the provisions" of                   the Bankptcy Code. 11 U.S.C. § 105(a). The Debtors submit that

  establishing and implementing the Reclamation Procedures is necessary and appropriate and that

  the Reclamation Procedures are consistent with section 546( c) of the Banuptcy Code and

  Bankptcy Rule 9019.

                          16. The Debtors believe that their ability to resolve Reclamation Claims in

  accordance with the Reclamation Procedures wil assist in the consensual resolution of such

  claims and, ultimately, the maximization of                           value for the Debtors, their estates and creditors, and

  all parties in interest. Therefore, the relief requested in this Motion is in the best interests of the

  Debtors and their respective estates and should be granted in all respects.


                                                                          Notice

                          17. Notice of                this Motion has been provided to (i) the U.S. Trustee, (ii) the

  attorneys for the Committee, (iii) the Sellers (if                          known), and (iv) all persons and entities that

  have formally appeared and requested service in these cases pursuant to Bankuptcy Rule 2002.

  The Debtors submit that, in view of the facts and circumstances, such notice is sufficient and no

  other or further notice need be provided.

                          18. No previous request for the relief sought herein has been made by the

  Debtors to this or any other Court.



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                     WHEREFORE the Debtors respectfully request entry of an order in the form

  attached hereto as Exhibit A granting the relief requested herein and such other and further relief

  as is just.


  Dated: February 8, 2010
                New York, New York         PACHULSKI STANG ZIEHL & JONES LLP


                                           Isl Maria A. Bove
                                           Richard M. Pachulski
                                           Laura Davis Jones
                                           Debra 1. Grassgreen
                                           Joshua M. Fried
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                                           New   York, New   York 10017
                                           Telephone: (212) 561-7700
                                           Facsimile: (212) 561-7777

                                           Attorneys for Debtors
                                           and Debtors in Possession




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                                            EXHIBIT A

                                          (Proposed Order)




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  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK


     In re:                                                                                   Chapter 1 1

     MESA AIR GROUP, INC., et aI.,                                                            Case No. 10-10018 (MG)
                                                               1
                                                  Debtors.                                    (Jointly Administered)


                                  ORDER PURSUANT TO 11 U.S.c. §§ 105 AND 546(c)
                  ESTABLISHING AND IMPLEMENTING EXCLUSIVE AND GLOBAL
                   PROCEDURES FOR TREATMENT OF RECLAMATION CLAIMS

              Upon the Motion, dated February 8, 2010 (the "Motion"),2 of                                   Mesa Air Group, Inc. and

  certain of its affiliates, as debtors and debtors in possession in the above-captioned chapter 1 1

  cases (collectively, the "Debtors"), pursuant to sections 105(a) and 546(c) oftitle 11 of                                  the

  United States Code (the "Banuptcy Code"), for entry of an order authorizing the Debtors to

  establish and implement procedures to reconcile and resolve all unpaid reclamation claims (the

  "Reclamation Claims"), all as more fully described in the Motion; and the Cour having

  jurisdiction to consider the Motion and the relief                            requested therein in accordance with 28 U.S.C.

  §§ 157 and 1334; and consideration of                         the Motion and the relief             requested therein being a core

  proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

  28 U.S.C. §§ 1408 and 1409; and due and proper notice of                                      the Motion having been provided to

  (i) the Office of the United States Trustee for the Southern District of
                                                                                                            New York, (ii) attorneys

  for the Committee, (iii) the Sellers (if                    known), and (iv) all persons and entities that have formally

  appeared and requested service in these cases pursuant to Bankptcy Rule 2002, and it


  1 The Debtors are: Mesa Air Group, Inc. (2351); Mesa Air New York, Inc. (3457); Mesa In-Flight, Inc. (9110);
  Freedom Airlines, Inc. (9364), Mesa Airlines, Inc. (4800), MPD, Inc. (7849), Ritz Hotel Management Corp. (7688);
  Regional Aircraft Services, Inc. (1911); Air Midwest, Inc. (6610); Mesa Air Group Airline Inventory Management,
  LLC (2015); Nilchi, Inc. (5531); and Patar, Inc. (1653).
  2 Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed to such terms in
  the Motion.


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  appearing that no other or further notice need be provided; and a hearing having been held to

  consider the relief      requested in the Motion (the "Hearing"); and upon the record of      the Hearing

  and all of the proceedings had before the Cour; and the Cour having found and determined that

  the relief sought in the Motion is in the best interests of the Debtors, their estates, creditors, and

  all parties in interest and that the legal and factual bases set forth in the Motion establish just

  cause for relief granted herein; and after due deliberation and sufficient cause appearing

  therefore, it is

              ORDERED that the Motion is granted as provided herein; and it is further

              ORDERED that the Debtors are authorized to resolve all Reclamation Claims in

  accordance with the following reclamation procedures (the "Reclamation Procedures"), which

  are hereby approved and authorized in their entirety:


              a. Any Seller asserting a Reclamation Claim must satisfy all procedural and timing
                     requirements entitling it to have a right to reclamation under section 546( c) of the
                        Bankptcy Code, including the submission of a written demand asserting such
                        Reclamation Claim (a "Reclamation Demand") in accordance with the deadlines
                        set forth in section 546( c) of the Banptcy Code;

             b. Each Seller that has timely submitted a Reclamation Demand shall deliver the
                        following supporting information to the Debtors within twenty (20) days of entry
                        of  this Order, to the extent not already included in its Reclamation Demand: (i) a
                        description of  the Goods subject to the Reclamation Demand; (ii) the name of  the
                        Debtor to whom such Goods were delivered; (iii) copies of any purchase orders
                        and invoices relating to such Goods; and (iv) any evidence regarding the date(s)
                        such Goods were shipped to and received by the Debtors, so that it is received by
                        (A) the Debtors, c/o Mesa Air Group, Inc., Law Deparment 410 N. 44th St. Suite
                        700, Phoenix, Arizona 85008, Attention: Brian S. Gilman, Esq.; and (B)
                        Pachulski Stang Ziehl & Jones LLP, 150 California Street, 15th Floor, San
                        Francisco, California 941 1 1, Attention: Debra Grassgreen and Joshua M. Fried,
                        and Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 36th Floor, New
                        York, New York 10017, Attention: Maria A. Bove, attorneys for the Debtors;

              c. The Debtors wil serve each Seller that has submitted a Reclamation Demand, at
                        the address indicated in its Reclamation Demand, a copy of this Order within five
                        (5) days of entry of this Order;



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           d. No later than ninety (90) days after entry of        this Order (the "Reclamation Notice
                      Deadline"), the Debtors will fie with the Court a notice (the "Reclamation
                      Notice"), listing (i) the Reclamation Claims, (ii) the amount (if any) of each such
                      Reclamation Claim that the Debtors determine to be valid, and (iii) a brief
                       summary of          the basis for any objection of       the Debtors to any Reclamation
                       Claim(s). The Debtors wil serve the Reclamation Notice on the following paries
                       (the "Notice Parties"): (A) the Office of
                                                                         the United States Trustee for the
                       Southern District of            New York (the "U.S. Trustee"); (B) attorneys for the Official
                       Committee of           Unsecured Creditors (the "Committee") appointed in these chapter
                       11 cases; and (C) each Seller listed in the Reclamation Notice, at the address
                       indicated in the respective Seller's Reclamation Demand;

           e. If           the Debtors fail to file the Reclamation Notice by the Reclamation Notice
                       Deadline, any holder of a Reclamation Claim that submitted a Reclamation
                       Demand in accordance with paragraph 1 1      (a) of the Motion may bring a motion on
                       its own behalf to seek relief with respect to its Reclamation Claim;

           f. Any party that wishes to object to the Reclamation Notice must fie and serve an
                      objection (a "Reclamation Notice Obiection") on the Notice Parties and attorneys
                      for the Debtors at Pachulski Stang Ziehl & Jones LLP, 150 California Street, 15th
                      Floor, San Francisco, California 94111, Attention: Debra Grassgreen and Joshua
                      M. Fried, and Pachulski Stang Ziehl & Jones LLP, 780 Third Avenue, 36th Floor,
                      New York, New York 10017, Attention: Maria A. Bove, so as to be received no
                      later than 4:00 pm (Eastern Time) on the twentieth (20th) day after the date on
                      which the Reclamation Notice is filed (the "Obiection Deadline"). Any
                      Reclamation Notice Objection must include (i) a copy of   the Reclamation
                      Demand, with evidence of the date mailed to the Debtors; and (ii) a statement
                      describing with specificity the objections to the Reclamation Notice and any legal
                      basis for such objections;

           g. Any Reclamation Claim listed in the Reclamation Notice for which no
                      Reclamation Notice Objection was fied and served by the Objection Deadline
                      shall be deemed allowed by the Cour in the amount identified by the Debtors in
                      the Reclamation Notice, provided that all issues relating to the treatment of any
                      such allowed Reclamation Claim shall be reserved;

           h. Notwithstanding and without limiting the foregoing, the Debtors are authorized,
                      but not required, to negotiate, in their sole discretion, with any Seller and to seek
                      an agreement resolving the Seller's Reclamation Claim or Reclamation Notice
                      Objection. If  the Debtors and a Seller agree on the validity, amount, or treatment
                      of the Seller's Reclamation Claim, the Debtors wil prepare and fie with the
                      Court a notice of settlement (a "Settlement Notice") and serve such Settlement
                      Notice on the Notice Parties. Each Notice Party will have ten (10) days from the
                      date of service of such Settlement Notice to file with the Court and serve on the
                      other Notice Paries and attorneys for the Debtors an objection thereto (a
                       "Settlement Obiection");




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              1. If no Settlement Objection with respect to a Reclamation Claim that is the subject
                      of a Settlement Notice is timely filed and served, such Reclamation Claim wil be
                                                                                              the
                      treated in accordance with the Settlement Notice without further order of

                      Cour;

             J. If a Settlement Objection with respect to a Reclamation Claim that is the subject
                      of a Settlement Notice is timely filed and served, the paries may negotiate a
                      consensual resolution of such objection to be incorporated in a stipulation fied
                      with the Court (a "Settlement Stipulation"). Upon the filing of a Settlement
                      Stipulation, the applicable Reclamation Claim shall be allowed and treated in
                      accordance with the terms of  the Settlement Stipulation without further order of
                      the Court;

              k. If no consensual resolution of a Settlement Objection with respect to a
                      Reclamation Claim that is the subject of a Settlement Notice is reached within
                      thirty (30) days after the date the Settlement Objection was filed and served, the
                      Debtors may fie a motion with the Court requesting a hearing to fix the allowed
                      amount of the Reclamation Claim, unless the Debtors and the pary fiing the
                      Settlement Objection agree to extend such thirty (30) day period;

              i. If any Reclamation Claims are stil subject to a pending Reclamation Notice
                      Objection seventy-five (75) days following the Objection Deadline (or a later date
                      as may be agreed to by the Seller, the Debtors, and the Committee) and no
                      Settlement Notice has been filed therewith, the Debtors may fie a motion with the
                      Court to fix the allowed amounts of such Reclamation Claims and schedule a
                      hearing to consider such motion; and

              m. If the Debtors fail to file a Reclamation Adjudication Motion by the Reclamation
                      Settlement Deadline, any Seller with a Reclamation Claim that is subject to a
                      pending Reclamation Notice Objection and for which no Settlement Notice has
                      been filed may bring a motion on its own behalf to seek adjudication of its
                      Reclamation Claim;

  and it is further

              ORDERED that the foregoing Reclamation Procedures are the sole and exclusive method

  for resolving unpaid Reclamation Claims asserted against the Debtors; and it is fuher

              ORDERED that all Sellers are prohibited from seeking any other means for the resolution

  or treatment of     their Reclamation Claims, including, without limitation: (a) commencing

  adversary proceedings and contested matters in connection with any Reclamation Claims, (b)

  seeking to obtain possession of any Goods, and (c) interfering with the delivery of any Goods to




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  the Debtors; provided, however, that nothing in this Order shall bar a Seller from asserting a

  claim pursuant to section 503(b)(9) of              the Bankptcy Code; and it is further

              ORDERED that any adversary proceedings or contested matters related to Reclamation

  Claims, whether currently pending or initiated in the future, except those proceedings initiated by

  the Debtors in accordance with the Reclamation Procedures, are stayed and the claims asserted

  therein shall be resolved exclusively pursuant to the Reclamation Procedures set forth herein;

  and it is fuher

              ORDERED that, to the extent a Reclamation Claim has been paid by the Debtors

  pursuant to another order entered by the Court in these chapter 1 1 cases, including the Critical

  Vendor Order, the Reclamation Procedures shall not apply to such Seller and any Reclamation

  Claim fied by such Seller with the Court shall be deemed withdrawn without the need for any

  further order of the Court; and it is further

              ORDERED that this Cour shall retain            jurisdiction to hear and determine all matters

  arising from or related to this Order.


  Dated: New York, New York
                                           ,2010


                                                     UNITED STATES BANKRUPTCY JUDGE




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